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10                               UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO, DIVISION
12
        ---------------------------------:
13
          SALOOJAS INC,                                 : CASE NO: 22-CV-01696
14
                    Plaintiff               :        22-CV-01702
15
                                            :        22-CV-01703
16               vs                        :         22-CV-01704
                                           :         22-CV-01706
17
       AETNA HEALTH OF CALIFORNIA, INC :
18                                         : SUPPLEMENTAL BRIEF
                  Defendant.               :
19
       ___________________________________ :
20
                                              INTRODUCTION
21
22         The Court has asked for additional briefing on the issue of administrative enforcement of

23   the CARES ACT.
24
           There is no administrative scheme set forth for the CARES ACT. That is why the cases
25
     turn on whether there is a private right of action for enforcement. The Court’s order was rather
26
     too narrow and missed the real issue of whether a lawsuit can be maintained at all which was
27
28   addressed in both the Texas and Connecticut Courts independent of the CARES ACT.


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 1          Both the Texas and Connecticut courts reached differing opinions as to whether there is
 2
     implied right of action to enforce the CARES Act. The Ninth Circuit will be the tie breaker on
 3
     that issue until the Supreme Court decides it permanently
 4
 5         Nonetheless, both the Texas and Connecticut courts permitted the suits to go further and

 6   raise the CARES Act issue independently of a private right of action on the ERISA violation
 7
     and RICO as well as state causes of action
 8
               Plaintiff using both the decisions of both of the courts as a starting point has filed a
 9
     Federal Class action lawsuit against Aetna not only for the violation of the CARES Act but
10
11   also for the violations of ERISA derived for not paying for the rendered COVID testing

12   services mandated by the CARES Act as well as RICO. The Class action complaint is attached
13
     herewith as an Exhibit and is case 5:22-CV-02887
14
             Plaintiff will also be filing similar and separate class action complaints against the
15
16   other insurance companies which have not been paying for the rendered COVID Testing

17   services provided under the CARES Act: Anthem, United HealthCare, Blue Shield, Cigna
18   and Kaiser. All total there are 31,772 patients for whom these insurance companies have not
19
     fully paid the Plaintiff for the rendered Covid Testing services provided to their insureds in
20
     direct violation of the CARES Act, ERISA and RICO
21
22            In these other future class action suits, Plaintiff will not be alone as the represented

23   Plaintiff. Several insured individuals who have not had their COVID testing bills paid in full
24
     will be joining as Representative Plaintiffs for the millions of insured Americans who were
25
     denied coverage under the CARES ACT when they went to out of network providers and then
26
     were assessed deductibles or charged copayments in violation of Federal law.
27
28


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 1                The suits which were filed in superior court were based on both the CARES ACT
 2
     and ERISA which required the bills be paid. So the class actions will be going forward for the
 3
     same reasons that both the Texas and Connecticut court set forth om allowing the suits to go
 4
 5   forward. Both courts allowed the suits on the ERISA claims and Texas went further and

 6   allowed it specifically on the CARES Act with a finding of an implied private right of action.
 7
            The Plaintiff is an out of network provider of Covid-19 testing series. The Plaintiff has
 8
     rendered up to now over 35,000 COVID 19 examinations. In each case, the patients have come
 9
     to the urgent care, saw a doctor and were tested. If just one out of network provider in one
10
11   county can have over 35,000 cases, other other of network providers will have similar

12   numbers. Plaintiff as a Representative Plaintiff for all such out of network providers is
13
     bringing the suits.
14
           The CARES Act requires that insurance companies pay for the Covid testing to the out
15
16   of network provider either at a negotiated rate or the provider's cash posted prices on a public

17   web site.
18          Of the over 35,000 total cases, in 31,772 cases, the Plaintiff was not paid in full and in
19
     fact in many of those cases the patients were sent statements by the insurance companies
20
     stating they that owed the balance to the Plaintiff. Aetna as one of those insurance companies
21
22   owes the Plaintiff for over 2,000 cases where it has not fully paid for the Covid testing Services

23   in violation of the CARES ACT.
24
             The CARES ACT straightforwardly directs insurers like Aetna to pay OON providers
25
     who furnish Covid Testing. Importantly, the statutes go further, describing how the amount
26
     such providers must be paid will be calculated. Section 3202(a)(2) of the CARES Act states
27
28   that “such plan or issuer shall reimburse the provider in an amount that equals the cash


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 1   price for such service as listed by the provider on a public internet website . . [emphasis
 2
     added].” This provision BY ITS VERY NATURE grants private rights to members of an
 3
     identifiable class.
 4
              Thus, the statutes express Congress’s intent to create a personal right in OON providers
 5
 6   like Plaintiff who provide Covid Testing services and have the right to be reimbursed at the

 7   statutorily mandated amount.
 8
               In enacting the CARES ACT, Congress wanted providers to be confident that if they
 9
     participated in the national effort to combat the pandemic through widespread testing and
10
11   diagnosis, they would be reimbursed appropriately. Such assurance was essential given the

12   extensive costs (not to mention the personal risk) providers faced in setting up broad testing
13
     capability. Congress was well aware that, if left to their own devices, insurance companies
14
     would protect their economic interests and do what they could to avoid paying for the massive
15
16   testing required to defeat the disease. Accordingly, Congress specifically removed nearly all

17   discretion and back doors that insurers might use to avoid coverage. Congress wanted
18
     widespread testing, and they wanted insurers to pay for it.
19
             Moreover, if there were no private right of action, patients and medical providers would
20
      be left remediless. The statute intended to prevent medical providers from directly billing the
21
22    patients here, but that is apparently what Aetna wants. This is inappropriate.

23             In the context of a public health emergency, where as of today nearly 1,000,000
24
     Americans have died, and the President is flying flag at half mask in memorial to the Covid
25
     dead, the federal government sought to encourage extensive and swift Covid Testing and to
26
     incentize providers like Plaintiff to accept the inherent risks in providing these tests by ensuring they would be paid
27
28   promptly at a rate set by law.


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 1         The FFCRA and the CARES Act mandate that plans and insurers like Aetna cover these
 2
     tests at the provider’s cash price as posted on its website or the negotiated rate. Moreover,
 3
     knowing of the risk that health plans like Aetna would attempt to line their coffers by
 4
 5   imposing burdensome obstacles on patients and providers who seek payment for testing, the

 6   federal government warned that plans and issuers shall not attempt to “limit or eliminate other
 7   benefits . . . to offset the costs o1 increasing the generosity of benefits related to the diagnosis
 8
     and/or treatment of COVID-19.”’       See FAQs, Part 42 (April 11, 2020). Accordingly, it is in
 9
     keeping with the text,
10
11
                1.   STANDING TO CHALLENGE VIOLATIONS OF THE FFRCA AND
12
13                                    CARES ACT UNDER ERISA

14          Regardless of whether Plaintiff has a private right of action under the FFCRA and the
15   CARES Act, Plaintiff is also entitled to challenge Aetna’s unlawful practices through the
16
     private rights of action provided under ERISA. Specifically, ERISA ,§ 502(a)(1)(B), 29
17
     U.S.C. § 1132(a)(1)(B) permits a plan participant or beneficiary to bring a civil action to
18
     recover plan benefits, enforce his or her rights under the plan, or clarify rights to future
19
20   benefits. “Congress’s creation of this cause of action has given patients a right to enforce the

21   insurance coverage they contracted for. They were given a right to recompense for an actual
22
     injury and have standing to pursue alleged breaches of this statutory duty.”' N. Cypress Med
23
     Cir Operating Co. v Cigna Healthcare, 781 F.3d. 182, 194 (5th Cir.2015). ERISA § 502(3),
24
     25 U.S.C. § 1132(a)(3) further permits a plan participant or beneficiary to seek to “enjoin any
25
26   act or practice which violates any provision” of ERISA or the terms of the plan, or “to obtain

27   other appropriate equitable relief’ to “redress such violations or . . . enforce any provisions” of
28
     ERISA.

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 1            A.      Plaintiffs Standing to Assert an ERISA Claim for Benefits
 2                    i.        Derived Standing from Validly Executed Assignments of Benefits
 3
            Congress, the Department of Labor, Health and Human Services, and the Treasury
 4
 5   (collectively, the “Departments”) have clearly established that Section 6001 of the FFCRA, as

 6   amended by Section 3201 of the CARES Act, applies to group health plans and health
 7
     insurance issuers offering group or individual health insurance coverage, and the term “group
 8
     health plan” includes both insured and self-insured group health plans and employment-based
 9
     health plans subject to ERISA. See FAQs, Part 42 (April11, 2020). If Congress did not intend
10
11   ERISA or its statutory remedies to not to be incorporated into the FFCRA and the CARES

12   Act then Congress would have specifically carved out the requirements for group health plans
13   subject to ERISA to comply with the requirements of Section 6001 of the FFCRA and Section
14
     3202(a) of the CARES Act rather than explicitly include them. As such, because Covid
15
     Testing services is now a federally mandated benefit that is required to be covered by any and
16
17   all group health plans subject to ERISA, any failure by a group health plan subject to ERISA

18   to properly adjudicate claims for Covid Testing services and reimburse a provider in

19   accordance with how such benefit should be covered subjects the group health plan to an
20
     ERISA claim for benefits.
21
22          “It is well established that a healthcare provider, though not a statutorily designated

23   ERISA beneficiary, may obtain standing to sue derivative to enforce an ERISA plan
24   beneficiary's claim.” Harris Methodist Fort Worth v Sales Support Servs Inc Employee
25
     Health Care Plan 426 F.3d 330, 333-334 (5th Cir 2005) Here, Plaintiff has standing because
26
     it routinely receives broad assignments of benefits from its patients.
27
28          The Fifth Circuit has maintained that “ERISA health care benefits are assignable,”


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 1       Cell Sci Sys Corp v Louisiana Health Serv 804 F.App. 260, 264 (5th Cir 2020) and “that the
 2
         ability of patients to assign their claims to medical providers is both permissible and
 3
         beneficial” N.Cypress Med Cir Operating Co. supra. The purpose of designating Plaintiff as
 4
         an authorized representative and assignee is to allow it to bc able to pursue a full range of
 5
 6       legal and administrative remedies in the event of any adverse benefit determination.”

 7       Outpatient Specialty Surgery Partners Ltd v. Unitedhealthcare Inc. No 4:15 – CV- 2983
 8
         (S.D. Tex June 24, 2016) As part of the assignment of benefits executed by patients. the
 9
         patients: (i) acknowledge that Plaintiff is an OON provider, (ii) designates Plaintiff as its
10
         authorized representative; and (iii) assigns and authorizes Plaintiff the right to be directly
11
12       reimbursed for Covid Testing services. As a result, by virtue of the validly executed

13       assignment of benefits, Plaintiff has standing to pursue an ERISA claim for benefits against
14
         United and the Employer Plans, especially since the fifth Circuit has taken the following
15
         position:
16
                      “To deny standing to health care providers as assignees of beneficiaries
17
                      of ERISA plans might undermine Congress’s goal of enhancing
18                    employees' health and welfare benefit coverage. Many providers seek
                      assignments of benefits to avoid billing the beneficiary directly and
19                    upsetting his finances and to reduce the risk of non-payment. If their
                      status as assignees does not entitle them to federal standing against the
20
                      plan, providers would either have to rely on the beneficiary to maintain
21                    an ERISA suit, or they would have to sue the beneficiary. Either
                      alternative, indirect and uncertain as they are, would discourage
22                    providers from becoming assignees and possibly from helping
                      beneficiaries who were unable to pay them “up-front.” The providers
23
                      are better situated and financed to pursue an action for benefits owed
24                    for their services. Allowing assignees of beneficiaries to sue under
                      §1132(a) composts with the principle of subrogation generally applied
25                    in the law.” Harris Methodist Fort Worth v Sales Support Servs Inc
26                    Employee Health Care Plan, supra

27 II.    Conferred Standing From the FFCRA and the CARES Act to Sue Under ERISA
28       Additionally, under the unique circumstances of this case, the relevant federal legislation


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 1
      makes clear that medical providers have standing to sue for an insurer’s violation of the law.
 2
      As described in detail above, the goal of the FFCRA and the CARES Act’s approach to
 3
      COVID testing was to remove any financial burden from the patients. The Departments
 4
      specifically provide the following guidance as it relates to coverage of Covid Testing services
 5
      and Congress’s intention of setting a specific reimbursement methodology for reimbursement
 6
      for such services as to avoid from OON providers having to bill patients:
 7
 8       Q9. Does section 3202 of the CARES ACT protect participants, beneficiaries, and
 9   enrollees from balance billing for a COVID 9 diagnostic visit?
10
                 The departments read the requirement to provide coverage without cost
11               sharing in section 6001 of the FFCRA together with section 3202(a) of
12               the CARES Act establishing a process for setting reimbursement rates,
                 as intended to protect participants, beneficiaries, and enrollees from
13               being balance billed for an applicable COVID 19 test. Section 3202(a)
                 contemplates that a provider of COVID 19 testing will be
14
                 reimbursed either a negotiated rate or an amount that equals the
15               cash price for such service that is listed by the provider on a public
                 website. In either case the amount the plan or issuer reimburses the
16               provider constitutes payment in full for the test, with no cost sharing to
                 the individual or other balance due. Therefore. the statute generally
17
                 precludes balance billing COVID19 testing However. section 3202(a)
18               of the CARES Act does not preclude balance billing for items and
                 services not subject to section 3202(a), although balance billing may be
19               prohibited by applicable state law and other applicable contractual
20
                 agreements.” See FAQs Part 43 (June 23, 2020)

21          The FFCRA and the CARES Act were passed in response to the public health
22   emergency declared under Section 319 of the Public Health Service Act. The purpose of
23
     including Section 6601 of the FFCRA and Section 3202(a) of the CARES Act was to two-
24
     fold: (l) to motivate and to provide reasonable assurances to providers capable of providing
25
26   Covid Testing services that they would be reimbursed for the Covid Testing services it

27   rendered throughout the course of the public health emergency; and (2) to provide reasonable
28   assurances to members of health plans that they would not be held personally financially

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 1   responsible for Covid Testing services as it would disincentize persons from being tested, in
 2
     turn, further exacerbating the pandemic. This conscious decision by Congress to eliminate the
 3
     patient from the reimbursement chain in OON Covid Testing situations obviates the ordinary
 4
     requirement for an OON provider to obtain a valid assignment, and, in the event there is an
 5
 6   anti-assignment provision in the terms of the health plan— which there usually is — to obtain

 7   a validly executed and notarized special power of attorney.
 8
          The possibility of an implied right of action is analyzed under the following four-part test:
 9
            1. Is this plaintiff a member of the class for whose “especial” benefit the statute was
10
     passed. In other words, does the statute create a federal right for this plaintiff?
11
12          2. Is there any evidence of legislative intent, either explicit or implicit, to create or
13   deny a private remedy?
14          3. Is it consistent with the legislative scheme to imply a private remedy?
15          4. Is the cause of action one traditionally relegated to state law so that implying a
16   federal right of action would be inappropriate? Lundeen v. Mineta, 291 F. 3d 421, 433 (S.D.
17   Tex. 2020)
18           When everything is considered, and the tests applied, the only reasonable conclusion is

19   that there is an implied private right of action under the CARES Act independent from the
20
     right of action derived from the ERISA and RICO.
21
            Respectfully, this Court should rule that these emergency laws passed in the midst of
22
     public health emergency have special exception, and confer standing to Plaintiff, and other
23
24   similarly situated providers, to pursue this remedy under both the CARES Act and ERISA.

25                                 Respectfully submitted
26
27      Dated    May 16, 2022                      Law Office of Michael Lynn Gabriel

28                                                  _/s/ Michael Lynn Gabriel
                                                    Attorney For Plaintiff
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